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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

                                                                                 Chapter 11
         In re:
                                                                                 Case No. 17-12560 (KJC)
         WOODBRIDGE GROUP OF COMPANIES, LLC, et
         al.,1                                                                   (Jointly Administered)

                                                 Debtors.

         WOODBRIDGE GROUP OF COMPANIES, LLC,                                     Adv. Proc. No. __________
         and WOODBRIDGE STRUCTURED FUNDING,
         LLC,2

                                                 Plaintiffs,

                                            v.

         KAILA ALANA LOYOLA,

                                                 Defendant.



                COMPLAINT OBJECTING TO CLAIM NO. 8811 OF KAILA ALANA LOYOLA
                     AND FOR EQUITABLE SUBORDINATION AS APPROPRIATE

                    The Woodbridge Group of Companies, LLC, and Woodbridge Structured Funding, LLC,

         debtors and debtors in possession (“Plaintiffs”) hereby allege for their Complaint as follows:




         1
                The last four digits of Woodbridge Group of Companies, LLC’s federal tax identification number are 3603. The
                mailing address for Woodbridge Group of Companies, LLC is 14140 Ventura Boulevard #302, Sherman Oaks,
                California 91423. Due to the large number of debtors in these cases, which are being jointly administered for
                procedural purposes only, a complete list of the Debtors, the last four digits of their federal tax identification
                numbers, and their addresses are not provided herein. A complete list of this information may be obtained on
                the website of the Debtors’ noticing and claims agent at www.gardencitygroup.com/cases/WGC, or by
                contacting the undersigned counsel for the Debtors.
         2
                Claimant (defined below) filed her Claim (also defined below) solely against Woodbridge Group of Companies,
                LLC. However, a prepetition state court complaint she filed in California named both Woodbridge Group of
                Companies, LLC, and Woodbridge Structured Funding, LLC. Out of an abundance of caution both debtors are
                therefore named as plaintiffs in this complaint.
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                                           NATURE OF THE ACTION

                1.      At least since August 2012 until shortly before it sought bankruptcy protection,

         Plaintiffs and their many hundreds of debtor affiliates (together with the Plaintiffs, the

         “Debtors”) were operated by their founder and principal, Robert Shapiro (“Shapiro”), as a Ponzi

         scheme. As part of this fraud, Shapiro, through the Debtors, raised over one billion dollars from

         approximately 10,000 investors as either Noteholders or Unitholders (collectively, “Investors”).

                2.      Those Investors often placed a substantial percentage of their net worth (including

         savings and retirement accounts) with the Debtors and now stand to lose a significant portion of

         their investments and to be delayed in the return of the remaining portion. The quality of the

         remaining years of the Investors’ lives will be substantially and adversely affected by the fraud

         perpetrated by Shapiro.

                3.      The Defendant here, Kaila Alana Loyola (“Claimant”), is a transgender woman

         who claims that (i) she was wrongfully terminated by Plaintiffs and, while employed, subjected

         to abuse by two of her former colleagues, fellow employees of the Plaintiffs, on account of her

         transgender status, and (ii) Plaintiffs’ managerial employees, including Shapiro, did not make

         reasonable efforts to prevent or end the harassment, and indeed wrongfully terminated Claimant

         from employment.

                4.      Claimant alleges she was employed by Plaintiffs from May 4, 2015 through

         August 5, 2015. Plaintiffs’ records are consistent with those dates of employment, a period of

         approximately 93 days.

                5.      Plaintiffs are informed and believe, and based thereon allege, that Claimant’s

         duties as an employee of the Plaintiffs involved preparing and processing the very loan

         documents used to perpetrate the fraud on Investors.


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                    6.       Plaintiffs are unaware to what extent, if at all, Claimant was aware that the

         documents she was preparing and processing were fraudulent. However, Plaintiffs are informed

         and believe, and based thereon allege, that Claimant was or ought to have been aware of

         substantial questions surrounding Debtors’ business practices, and thus of her role in advancing

         those practices, based on the following:

                             a. In a complaint she filed in California in November 2015, only three months

                                 after her termination and before any state other than Massachusetts had issued

                                 a cease and desist order, Claimant alleged that “Woodbridge has been the

                                 subject of cease and desist orders from various state courts for selling

                                 unregistered securities and/or engaging in fraud in connection with these

                                 investments.”3

                                 and

                             b. On May 4, 2015, the very first day of Claimant’s employment, Massachusetts

                                 issued an order (to which the Debtors consented), prohibiting the Debtors

                                 from, among other things, continuing to do business in that state and fining

                                 the Debtors $250,000. The Massachusetts order is notable because it was the

                                 first order (of many) sanctioning the Debtors based on their business practices,

                                 fining them and prohibiting them from doing business in a particular state.

                    7.       The purpose of this proceeding is two-fold:

                             a. To object to Claim No. 8811 in the amount of $14,000,000 (fourteen million

                                 dollars) being asserted by Claimant. The bases for relief include Bankruptcy

                                 Code section 502(b)(1).


         3
                Precisely the same statement is repeated in an amended version of the complaint which is attached to the Claim.
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                            and

                        b. To equitably subordinate any allowed Claim that Claimant obtains on the

                            basis that allowing the claim of a former employee who assisted in the

                            preparation of the very documents used to defraud Investors on a pari passu

                            basis with the claims of those same Investors, would be inequitable and

                            contrary to the rules of equitable distribution and that subordination is

                            appropriate pursuant to the Bankruptcy Code, including section 510(c), and

                            decisional law.

                            and

                        c. To the extent that the Court does not wholly subordinate any allowed Claim

                            that Claimant obtains, to equitably subordinate any portion of her allowed

                            Claim that represents attorneys’ fees or punitive or exemplary damages, on the

                            basis that treating such non-compensatory elements of an allowed claim by a

                            former employee who assisted in the preparation of the very documents used

                            to defraud Investors on a pari passu basis with the claims of those same

                            Investors, would be inequitable and contrary to the rules of equitable

                            distribution and that subordination is appropriate pursuant to the Bankruptcy

                            Code, including section 510(c), and decisional law.

                                          JURISDICTION AND VENUE

                8.      The Court has jurisdiction over this action under 28 U.S.C. §§ 157(a) and 1334.

         This adversary proceeding is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(B)

         and (C). In any event, the Plaintiffs and, to the extent necessary, all Debtors consent to entry of




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         final orders or judgment by the bankruptcy court. Venue of this adversary proceeding is proper

         in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                   THE PARTIES

                 9.      On December 4, 2017 (the “Petition Date”), the Plaintiffs commenced voluntary

         cases under chapter 11 of the Bankruptcy Code. Other of the Debtors also filed voluntary

         chapter 11 cases either on the Petition Date or within the following four months.

                 10.     Debtors are operating their businesses and managing their properties as debtors in

         possession pursuant to Bankruptcy Code sections 1107(a) and 1108. No trustee or examiner has

         been appointed in these cases.

                 11.     These cases are being jointly administered for procedural purposes pursuant to

         Rule 1015(b) of the Federal Rules of Bankruptcy Procedure.

                                              FIRST CLAIM FOR RELIEF

                                                 Objection to Claims

                 12.     Plaintiffs reallege and incorporate herein Paragraphs 1 through 5, 7.a, and 8

         through 11, as if fully set forth.

                 13.     Claimant, as noted in paragraph 7.a, above, filed the Claim on June 18, 2018, a

         true copy of which is attached hereto as Exhibit A, and by it seeks $14,000,000 for

         “[d]iscrimination and harassment in violation of California Fair Employment and Housing Act

         and related [law].”

                 14.     Notably, Claimant was employed for only 93 days by Plaintiffs. The amount she

         seeks for wrongful termination and related discrimination and harassment represents the total

         amount she would have been paid had she been employed by Plaintiffs at her then rate of pay for




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         approximately 385 years. Put another way, the amount Claimant is seeking is substantially in

         excess of 1,000 times the salary she earned during her brief employment by Plaintiffs.

                15.      Plaintiffs believe that there are substantial defenses to liability on the Claim,

         including but not limited to: (i) the individuals who allegedly created a hostile work environment

         – two sisters who were employed by the Plaintiffs, Lianna and Diana Balayan – were not

         managerial employees; (ii) Claimant did not make reasonable use of the preventive and

         corrective measures that Plaintiffs had in place to report, investigate, and put a stop to

         discrimination and harassment; (iii) Claimant was terminated for legitimate, nondiscriminatory

         reasons; and (iv) Claimant’s alleged damages were not actually caused by Plaintiffs’ alleged

         mistreatment.

                16.      For purposes of this Objection only, and in order to avoid the cost and length of a

         trial that would otherwise deal with both liability and damages, Plaintiffs are prepared to concede

         liability. This concession is designed solely for the purpose of rapid and inexpensive liquidation

         of the Claim and is not a general concession. In the event that this case is tried in any court or

         forum other than this Bankruptcy Court (including without limitation any United States District

         Court or State Court), Plaintiffs fully reserve the right to contest both liability and damages.

                17.      Plaintiffs are informed and believe, and based thereon allege, that Claimant did

         not suffer damages relating to her wrongful termination and hostile work environment while

         employed by Plaintiffs at anything remotely close to $14,000,000, but that her damages from the

         foregoing are much smaller, including for some or all of the following reasons:

                         a. She was employed by Plaintiffs for only three months;

                         b. Even if she had not been terminated in 2015, she would have lost her job no

                            later than the Petition Date such that the wages she could have earned from


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                           her termination date to the Petition Date – approximately 28 months – would

                           have been substantially less than $100,000;

                       c. Claimant’s emotional injuries are not attributable to Plaintiffs’ alleged

                           misconduct, but rather to past trauma experienced by Claimant prior to her

                           employment with Plaintiffs;

                       d. Plaintiffs’ liability, if any, should be reduced by the amount of Claimant’s

                           recoveries from other parties that contributed to her alleged harms; and

                       e. Claimant’s claimed damages must be offset by income obtained subsequent to

                           her termination, including from state disability benefits and the wages earned

                           from her current employer.

                18.    Further, Claimant has sought punitive damages. Because punitive damages will

         punish neither the individuals who allegedly abused Claimant nor the Debtors’ prior equity

         owners (who were also the supervisors of the allegedly abusing employees), but will instead

         punish victims of Debtors’ fraud, which was advanced by acts of Claimant during her

         employment by Plaintiffs, this is not an appropriate case for punitive damages. As Bankruptcy

         Judge Robert Gerber wrote in an opinion in In re Motors Liquidation Co., 2012 WL 10864205,

         at *11 (Bankr. S.D.N.Y. Aug. 6, 2012):

                [T]he purpose of punitive damages is to punish wrongdoers and deter future wrongful
                conduct. However, in a bankruptcy setting where the recovery of punitive damages by
                some creditors depletes recovery of other creditors, courts have regularly exercised their
                equitable power to disallow or subordinate punitive damage claims. Disallowance of
                punitive damages claims is particularly appropriate in a liquidating case, including a
                liquidating chapter 11 case, where there is no future conduct to deter; the people guilty of
                the misconduct would not be punished for it; and the victims of the punitive damages
                would in reality be only other, wholly innocent, creditors.

                Awarding punitive damages in cases where all unsecured creditors are not receiving full
                satisfaction of their claims in effect forces the innocent creditors to pay for the debtor’s
                wrongful conduct.

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                    19.      The preceding is not meant to disparage Claimant or to deny that she was

         subjected to unfair treatment, but rather to assure that any allowed Claim properly reflects the

         actual damages suffered by Claimant as the direct and proximate result of misconduct by

         Plaintiffs and does not award her sums in excess of her actual damages, as that would unfairly

         affect victims of Debtors’ fraud, including defrauded creditors and Investors.4

                                                SECOND CLAIM FOR RELIEF

                                                      Equitable Subordination

                    20.      Plaintiffs reallege and incorporate herein Paragraphs 1 through 19, as if fully set

         forth.

                    21.      Given the timing of her employment, which commenced on the very same day as

         Massachusetts (the very first state of many to so act) ordered the Debtors to cease doing business

         in that state and to pay Massachusetts $250,000, Plaintiffs are informed and believe, and based

         thereon allege, that Claimant was or should have been aware that the Debtors were engaged in

         fraud and that her services would advance that fraud.

                    22.      Regardless of the extent to which Claimant was actually aware of Debtors’ fraud

         or that her services would advance that fraud, Claimant’s conduct in fact assisted in causing

         injury to the Debtors’ estates and its other defrauded creditors and Investors.

                    23.      Principles of equitable subordination require that any claims asserted by Claimant

         against the Plaintiffs be equitably subordinated to all other claims against the Debtors.




         4
                As noted in paragraph 16, any “concession” as to liability is solely made on practical grounds, not as a
                confession of wrongdoing by the Plaintiffs. The “concession” is designed to enable this matter to be
                adjudicated rapidly and inexpensively in this Bankruptcy Court. Simply put, the costs to determine liability
                here will likely exceed the consequences of conceding liability. But this “concession” is inapplicable in any
                other forum.
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                24.     To the extent that the Court does not wholly subordinate any allowed Claim that

         Claimant obtains, principles of equitable subordination require, at a minimum, that any portion

         of Claimant’s allowed Claim that is not actually compensatory to her, such as attorneys’ fees for

         her lawyers and punitive or exemplary damages, be subordinated to the claims of all other

         creditors.

                25.     Equitable subordination as requested herein is consistent with the provisions and

         purposes of the Bankruptcy Code.

                26.     As a result of the foregoing, Plaintiffs are entitled to judgment pursuant to

         Bankruptcy Code section 510(c) equitably subordinating the Claim, in whole or in part (as set

         out above), that Claimant has asserted against Plaintiffs.

                                             PRAYER FOR RELIEF

                WHEREFORE, by reason of the foregoing, Plaintiffs request that the Court enter

         judgment:

                            1) On the first claim for relief, sustaining the objection to Claim No. 8811,
                               decreeing that Claim No. 8811 be reduced to a reasonable sum according
                               to proof, and directing the Claims’ Agent to reduce Claim No. 8811 to
                               such amount;

                            2) On the second claim for relief, equitably subordinating Claim No. 8811,
                               according to proof and in accordance with principles of equitable
                               subordination and the provisions and purposes of the Bankruptcy Code;
                               and

                            3) On both claims for relief, for such other and further relief as is just and
                               proper.

                                        [Remainder of this page left blank]




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         Dated:   August 30, 2018         /s/ Edmon L. Morton
                  Wilmington, Delaware    YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                          Sean M. Beach (No. 4070)
                                          Edmon L. Morton (No. 3856)
                                          Michael S. Neiburg (No. 5275)
                                          Ian J. Bambrick (No. 5455)
                                          Rodney Square, 1000 North King Street
                                          Wilmington, Delaware 19801
                                          Tel: (302) 571-6600
                                          Fax: (302) 571-1253
                                          -and-
                                          KLEE, TUCHIN, BOGDANOFF & STERN LLP
                                          David M. Stern (pro hac vice)
                                          Whitman L. Holt (pro hac vice)
                                          Jonathan M. Weiss (pro hac vice)
                                          1999 Avenue of the Stars, 39th Floor
                                          Los Angeles, California 90067

                                          Counsel to the Debtors and Debtors in Possession




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